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UNITED sTATES OF AMERICA aosaar z~“. iiirrm€m=r
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V. CASE No.- 2:-05 cv-§‘z‘i§`§§ _%b'/`i'- §mp
BRYAN CONSTRUCTION COMPANY, 1NC.,
PATTON & TAYLOR CONSTRUCTION, CO.,
TAYLOR GARDNER ARCHITECTS, INC.,
LOONEY~RICKS-KISS ARCHrrECT, JNC.,
RICHARD A. BARRON, THE REAVES FrRM,
rNC., sMITH ENGiNEERJNG FIRM, iNC.,
DAV]D W. MILEM, BELZ/ soUTH BLUFFS,
iNC., HT DEVCO, lNC. and STEVE BRYAN DEFENDANTS

M(M
MOTION FOR SPECIAL ADMISSION
OF ATTORNEY STEVE H. SMITH

THIS COURT has considered the Motion of Steve H. Smith, a member of the State Bar of
Mississippi, for special admission to represent Defendants, Bryan construction Company, lnc., and Steve
Bryan, in the above-styled matter. Mr. Smith has met the requirements of L.R. 83.1(b) for special

admission of attorneys The Motion for Special Admissicn is hereby GRANTED.

so oRDERED this f § day of d/L_"\F\L, 2005

®\ mw@i

IUDG JON PHIPPS McCALLA
STATES DISTRICT JUDGE

Proposed Order prepared by:

Steve H. Smith, Esq. (MSB #7610)
DunbarMonroe, PLLC

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Th!s document entered on the docket shea in cumpr d /
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